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Attorneys Specially Appearing for COUNTY OF ORANGE

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA
Plaintiff,

Vv.

GEORGE H. JARAMILLO,
Defendant.

“orem

 

 

Case No.: SACR 07-0036-AG

COUNTY OF ORANGE’S AMICUS
BRIEF IN RE COURT’S
RESTITUTION ORDER AND FEES
REQUESTED BY HIS COUNSEL;
MEMOREANDUM OF POINTS AND
AUTHORITIES: DECLARATION OF
DAVID D. LAWRENCE AND
EXHIBITS

Date: November 16, 2009
Time: 2:00 p.m.
Crtrm: 10D

FOR DETERMINATION BEFORE
THE HONORABLE ANDREW J.
GUILFORD

 
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MEMORANDUM OF POINTS AND AUTHORITIES
I. INTRODUCTION.

Notwithstanding his criminal convictions for corruption engaged in as Orange
County Assistant Sheriff, Defendant George H. Jaramillo (herein Jaramillo) brought
suit against the County of Orange (hereinafter “County”) alleging that he was
wrongfully terminated, claiming violation of the Public Safety Officers Procedural
Bull of Rights (hereinafter “POBOR”) and a variety of other statutes. The trial took
place while Jaramillo was under a plea agreement with the Office of the United State
Attorney to cooperate in the criminal prosecution of former Orange County Sheriff
Michael Carona. Carona had terminated Jaramillo’s employment and Jaramillo was
free to make allegations against Carona without fear of rebuttal knowing that the only
person who could testify about the reasons for termination was Carona who would
invoke his Fifth Amendment right to remain silent if called as a witness in the
wrongful termination case while Carona’s criminal prosecution was pending. With
that as the backdrop, Jaramillo was awarded back pay and pension benefits, a
nominal award for the POBOR violations ($100) and injunctive relief.

As part of his criminal sentence, this Court has ordered Jaramillo to return or
not accept any cash payments relating to the state court proceedings. Jaramillo’s
civil counsel have raised the issue of their alleged right to attorneys fees relating to
the civil case,

In response to the Court’s invitation, the County of Orange fhereinafter
“County” submits this brief in support of the Court’s restitution order,
li. SUMMARY OF COUNTY’S POSITION.

At Jaramillo’s sentencing hearing on September 14, 2009, this Court made its
position on restitution clear:

“Now I believe I'm required to state the various
terms of the restitution, but I think I've stated them

sufficiently by stating that when the County is to make a

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payment it is not to be received, or if it's received it's to

be immediately returned.”
United States of America vs. George H. Jaramillo, Reporter’s Daily Transcript of
Proceedings Santa Ana, September 14, 2009, page 118. [Exh. 1]

At that time, counsel for Mr. Jaramillo, Mr. Baruch advised the Court that
State Court Judge Banks would be hearing the civil motion for award of attorneys
fees on October 23, 2009. Id. At 113. Specifically, Mr. Baruch stated:

MR. BARUCH: The motion for attorneys’ fees is not
set to be heard before Judge Banks until October 23rd. I
don't know if that figures into your calculations as to what
you may want to do.
THE COURT: All right.
MR. BARUCH: And he has not signed the judgment
yet, although threatening to do so every day.
Id.

In response, this Court invited briefing with regard to restitution to be made to
the County and fees claimed by Jaramillo’s civil attorneys and set a hearing for
November 16, 2009. In that regard, the Court stated:

THE COURT: All right. Give notice to

Mr. Lawrence. And you are now put on notice and the defense
counsel and the government are put on notice.

And to the extent we're talking about factual

matters I would like evidentiary matters to be submitted like
the -- the fee agreement. You know, I don't know what your
words are. It might be how you worded it.

Recovered? Received? Paid by?

ht will be interesting. We'll see what the fee

agreement says, and I'll make an appropriate ruling at that

 
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time.
Id.at 115 (emphasis added).

In the mean time, state court Judge Banks continued the hearing on Jaramillo’s
request for attorneys fees to February 19, 2010. Furthermore, notwithstanding this
Court’s request for Jaramillo’s fee agreements and a separate request by the County’s
counsel, David Lawrence for same [see, Exh. 2], none have been produced. Mr.
Lawrence is informed and believes that Mr. Baruch recently advised attorney Sagel
that any such agreements were privileged and would not be produced.

Consequently, the County’s position is that the November 16" hearing should
address restitution and restitution only. Any right that Jaramillo’s civil attorneys
have to fees are simply agreements which must be worked out between Jaramillo and
his counsel. Consequently, this brief focuses upon restitution.

The attached State Court Amended Judgment sets forth what amounts were
awarded and how they were calculated. [Exh. 3] In essence Jaramillo was awarded
back pay from the date of his termination (March 17, 2004) to the date of his first
felony conviction at which time he was no longer eligible to be a peace officer, i.e.
January 29, 2007. That amounted to $183,688.66 which represented back pay and
benefits after deductions and offsets for moneys earned independently by Jaramillo
during that period of time. He was also awarded $179,018.84 which represented the
retirement benefits which would have accrued during the applicable period.

Plaintiff also was awarded $100 for two alleged POBOR violations, i.e, not
providing him with notice of termination and a hearing re same.

The County submits that this Court’s reasoning as to returning the back pay
applies equally to Jaramillo’s pension benefits. The benefits relate to the same time
period as the back pay and would not have accrued but for the back pay.
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i. THE ENTIRETY OF THE STATE COURT MONETARY JUDGMENT
SHOULD BE ORDERED PAID TO THE COUNTY AS RESTITUTION.
Title 18, United States Code, Section 3663A, also known as the Mandatory
Victims Restitution Act (“MVRA”), requires this Court to order a convicted
defendant to “make restitution to any victim of” the offense of conviction, anda
government entity can be a victim. 18 U.S.C. § 3663A(a)(1); United States v.
Martin, 128 F.3d 1188, 1190-91 (7th Cir. 1997). Where the offense of conviction
involved as an clement a scheme, conspiracy, or pattern of criminal activity, a
“victim” for purpose of the MVRA is any person directly harmed by the defendant’s
conduct in the course of the scheme, conspiracy, or pattern, 18 U.S.C. §
3663A(c)(1){B). The proper amount of restitution is the amount wrongfully taken by
defendant. 18 U.S.C. § 3663A(b)(1)(B); see also United States v. Crawley, 533 F.3d
349, 358 (Sth Cir. 2008) (upholding a restitution order on a union boss convicted of
honest services fraud that required the return of his salary and pension, plus his
kickbacks); United States v. Sapoznik, 161 F.3d 1117, 1121-22 (7th Cir. 1998)
(upholding restitution judgment under the MVRA of one year’s salary of a police
chief convicted of honest services fraud). Defendant’s scheme to defraud the
citizens of Orange County included getting Carona elected using illegal campaign
contributions and Jaramillo and Carona running the OCSD to benefit and enrich
themselves. 18 U.S.C. § 3663A(b)(1)(A). “For sentencing purposes, the loss
amount does not need to be precise and may only be a reasonable estimate of the
loss based on the available information.” U.S. v. Woodard, 459 F.3d 1078,
1087 (1 Ith Cir.2006).
TV. ANY ISSUES REGARDING ATTORNEYS FEES ARE BETWEEN
THE PLAINTIFF AND HIS COUNSEL.
In general, the plaintiff and his counsel are free to enter into any agreement

they choose regarding payment for legal services. But that agreement is between

 
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them and not to be determined by the Court except in extraordinary cases such as
when counsel charges an unconscionable amount.

In deed, while attorneys who represent clients in Section 1983 cases generally
assume that any award of fees under 42 U.S.C Section 1988 belong to the attorney,
the Supreme Court has made it clear that the award is to the plaintiff.

“(42 U.S.C.] § 1988 controls what the losing defendant must pay, not what the
prevailing plaintiff must pay his lawyer.” Venegas v. Mitchell, 495 U.S. 82, 87-88
(1990). “[[]t is the party, rather than the lawyer, who is [] eligible [for the attorney’s
fees}.” Id. In other words, the entitlement of the attorney’s fees under Section 1988
belongs to the plaintiff and not his counsel, and the Court has no obligation to
determine what is due to the plaintiff's counsel pursuant to the fee agreement. Id. at
89 (citing, Evans v. Jeff D.. 475 U.S. 717, 731-732 (1986).)

In essence, whether and to what extent Jaramillo’s counsel recovers fees
depends upon future rulings by Judge Banks and the provisions of any fees
agreements between Jaramillo and his multiple attorneys.

For purposes of this hearing, however, this Court is free to order that the state
court monetary awards be paid to the County, 1.¢., as stated by this Court at the last
hearing, Jaramillo is to either refuse payment or return it to the County upon receipt.
That does not negate any right Jaramillo’s Counsel might have to payment for fees
from Jaramillo, it simply means that the monetary judgment in Jaramillo’s favor is
not to be used for that purpose.
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iV. CONCLUSION.

Public policy and fairness dictate that this Court order Defendant Jaramillo to
make POBOR damages and restitution to the County by not accepting any salary
and retirement benefits resulting from the civil matter.

Respectfully submitted,
DATED: November /e_, 2009 LAWRENCE BEACH ALLEN & CHOI, PC

 

CHRISTINA M. SPRENGER
ANH N. NGUYEN

Attorneys Specially Appearing for
COUNTY OF ORANGE

 
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DECLARATION OF DAVID D, LAWRENCE

I, David D. Lawrence, state and declare as follows:

1, I am an attorney at law, duly authorized to practice before this Court
and I am a member of the firm of Lawrence, Beach, Allen & Choi, attorneys for
Defendant County of Orange in the state civil matter entitled Jaramillo y. County of
Orange, Case Number 05CC04220, the Honorable Andrew P. Banks presiding. If
call upon to do so, I could and would competently testify to the facts set forth herein
except those matters stated upon information and belief and to as those matters, I
believe them to be true.

2. Attached hereto as Exhibit “1” is a true and correct copy of the cover
page and pages 106 through 129 of the Reporter’s Daily Transcript of Proceedings,
Santa Ana, California dated Monday, September 14, 2009, which was the
sentencing hearing for George Jaramillo in the matter of United States of America v,
George H. Jaramillo, Case No. 8:07-cr-00036-AG-1.

3. Attached hereto as Exhibit “2” is a true and correct copy of a letter that
I sent to civil counsel for George Jaramillo, Joel Baruch via facsimile and U.S. mail
on November 2, 2009 requesting that he provide me with signed copies of retainer
agreements entered into by George Jaramillo relating to his civil suit against the
County of Orange. As of the preparation of this declaration, [ have not received a
response to my November 2nd letter. Furthermore, on November 9, 2009, I was
advised by Assistant United States Attorney Brett A. Sagel that he had recently
spoken with Mr. Baruch who had advised him that he was not going to produce any
retainer agreements regarding the civil matter based upon his belief that those
documents were privilege.

4, Attached hereto as Exhibit “3” is a true and correct copy of the
Amended Judgment in the state civil matter Case Number 05CC04220 which was

signed by Judge Banks on September 10, 2009. For some reason, unknown to me,

 
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Mr. Baruch advised this Court on September 14, 2009, that Judge Banks had not
signed the Proposed Judgment.
“MR. BARUCH: and he [Judge Banks] has not signed the Judgment
yet, although threatening to do so every day.” (Exh. 1 at page 113)
Indeed, I am informed and believe that at a recent hearing before Judge
Banks, Judge Banks admonished Mr. Baruch for not serving Notice of Entry of
Judgment in the civil matter. To date, I have yet to receive any Notice of Entry of
Judgment in the civil matter.
] declare under penalty of perjury under the laws of the State of California
and the United States of America that the foregoing is true and correct.

Executed on November fe, 2009, at Santa Ana, California.

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Declarant

 
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EXHIBIT 1
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UNTTED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

HONORABLE ANDREW J. GUILFORD, JUBGE PRESIDING; COURTROOM 10D

United States of America,

Plaintiff(s),

No. 8:07-cr-00036-AG-1

VS.

George H Jaramillo,

Defendant(s).

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REPORTER'S DAILY TRANSCRIPT OF PROCEEDINGS
SANTA ANA, CALIFORNIA
MONDAY, SEPTEMBER 14, 20035

DENTSE PADDOCK, CSR 10199, RPR, RMR, CRR
0.5. DISTRICT COURT REPORTER
{760) 533-9866
DENISE. PADDOCK@OCRECORD. COM

 

 

 

PACER TRANSCRIPT
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i've read all the papers cited by your counsel, by
the US Attorney. I think restitution is appropriate in this
case.

I've cited, gone back and forth about case law
concerning who the victim is. I'm going toe stand by who
Mr. Jaramillo said the victim was or at least who he said who
Was the source of the scheme to defraud and who was
defrauded, the citizens of the County of Orange, and [efind
the citizens of the County of Orange to be a victim,

T-understand the’arguments about what dudge Banks
may have.made and the. findings -he may have made about ubad
faith or whatever. This is a federal court, and I: am

applying federal law, and I am applying the federal law

 

e¢oncerning victims, and I am “applying the rules applicable to

victims.

 

As Mr. Sagel stated, i believe one might be able to
justify an award of all the salary you have earned, but I
also think that sentences need to be practical. I think
defendants need to be able to look at a sentence and
determine that they can comply with the sentence and then
move on to a lawful life.

I see that. Mr, Sagel stated at Page li-of his

 

papers, although an argument could. be made that Jaramiliots:

 

entire salary and benefits he undeservedly received

throughout his entire terimat the OCSD should be returned as

 

 

 

 

PACER TRANSCRIPT
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restitution, the government submits that’ any back pay and

 

nenefits Jaramillo has‘received or will receive for the

 

period of time he did not even work at the OCSD should be

 

ordered to be paid tothe County. of Orange as restitution for:

 

his actions pursuant to his scheme.

 

That willbe the basis of ‘my order, and. the

 

restitutionary amount. will be the amount of back pay and

 

benefits for the time period -Mr.idaramillo ‘did not even work

 

at the ocsb.
Now, there has been various amounts suggested for
that. One is $183,688.66,

i've determined that I don't néed to calewlate the

 

amount. I'm only going to order that, when the County of

 

Orange is. ready to write you a check under any judgment from.

 

the state court that you return that cheék-or not accept the

cheok. Whether: that's a payment.and a@curepayment, I don't

 

know. I'm not. going to enter a specific amount because I:

 

don’t. know what ultimately is qcoing to happen. Tm simply

 

going to say that any payments made as a result of the

 

litigation: we. have described by.you against the County: of

 

Orange for the period of time == involving: the period of time

 

that: you did Act-even work at the Orange County Sheriff's

 

Department, will-elther be acgcepted by you and returned of

 

MR. SAGEL: Your Honor, a quick

 

 

 

PACER TRANSCRIPT
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clarification because —--

THE COURT: 7 know you're going to mention the
attorneys’ fees issue, and I've tried to figure out how If
might express the statement to avoid further litigation over
that issue.

I mean, part of me suggests I should wash my hands

 

and let: everybody work that-out. I'm actually thinking: that

 

it depends, in part, on what the fee agreement says Between

 

Mr, Jaramillo ‘andthe attorney.

 

MRe BARUCH: It's avcontingency fee agreement; the:

 

nowinal’ 40 percent trial.

 

THECOURT: ALL riglty Bid yoelekten enaey:

 

Ms. Paddock?
MR. BARUCH: There was a part of the agreement also
that -- 1f I may --
THE COURT; Well, let me say --

Let me say my -- the problem Ihave, Mr. Sagel) is

 

T.--what if-this was covered in-the contingency. fee

 

agreement? There.may be -asprovision:in that -~ in. the
contingency: fee agreement that .cover, you know, payment in

return. I. suspect not, but there may be.

 

@ounsel®

MR. BARUCH: i'm not. sure what you're asking. I

 

can tell the court what the judgment was and how. it was’

calculated by. Judge Banks. He asked the County-to calculate

 

PACER TRANSCRIPT

 
Case EQ’ EPO AG UNE. Rocun ot ent hued a8 986A ° age % 108) Sf og: 436

 

what it owed ~- what would it owe Mr. Jaramillo from. the

 

period: of time of his termination:on’ March 17th, 2004; until

 

a state court convicticn on January 28th, 2007.

 

Take. into consideration his base salary. --

 

THE COURT: Repeat that -- actually, hold on one
second. Just a moment.
All right. Go ahead.

MR.-BARUCH: Take into consideration his’ base

 

salary and >the value of his-benefits, which the County does

 

have a-method of calculating. He asked the County ‘to

 

determine what! that amount was.

 

There was also-a component of damages based on his:

 

retirement in CALPERS. The judge asked the County to

 

calculate for-that-periéd: of time of March L7th, 2004). untdl

 

his state. conviction, January 28th, 2007, How much they would:

 

have to put in-his retirement. to make him get retirement. on

the other end as if he Had worked that. period of time when

 

he's eligible to receive that retirement atvage 50.

 

And: then. they: took his: income. that: he. had-“earned

 

during that. period of time, which an expert had calculated at

 

$334,000, -and:-subtracted that amount from those variables

 

that».were calculated by Orange County. So they did calculate

mitigation and damages during that penida.

 

The resulting number was approximately $363,000,

 

and the way it.was calculated was 179,000 would be paid

 

 

 

 

PACER TRANSCRIPT
CASE ES BU PArOCISB-AG- Hoddniont 46°° ‘Filed 26/16/8889 ° Page HBG Bg 49?

 

directly: into retirement and that remaining number, which. was:

 

around 183,000, was actually damages that would: be paid out.

 

My agreement with.Mr. Jaramilio was: a standard

 

contingency feé agreement. that, you -know, attorneys normally

 

dor

There's: also an issue of attorneys! fees. We have

 

a motion set for that on, Octobér 23rd because the causes of

 

action, at least two of the three of .them, attorneys!’ fees

 

an be awarded.
THE COURT: All right. My --
Yes, Mr. Sagel,
MR. SAGEL: And let me just be clear, all the other
eayments from the Orange County that ~- Mr. Baruch --
MR, BARUCH: Yes.

MR. SAGEL: -- that Mr. Baruch mentioned, we didn't

ask for restitution. Weodidn't ask for any of the money te

 

be paid-on any of the damages, on retirement, iahy of the

 

ineréaséd pénsion amounts; et cetera; only the amounts of his

 

back pay subtracted by what he earned on his own be included,

and. that's the $183,000. figure.

 

MR. BARUCHY thé only thing Tt would say, though,

 

Your Honor,.is when we presented the damages we presented as

 

a-$2-millien figure over ‘the course. of a lifetime of: 37 years

 

of retirement. The. judge fashioned the remedy that the

 

County Just: pat in. the money of 179,000... My position is

 

 

 

 

PACER TRANSCRIPT
Cas CEQ bP CORTE. ACO CUR SA Re ert 4 hued Ted! 98) BROS ’ Bao FAS: Pg: 438

 

that's part -- I can calculate that money in my contingency

 

fee. So if you were to take.40 percent: of 363,000; it comes

 

up to about. $148, $150,000, at least-as far as the agreement

goes ..

And that's why I'm here, Your Hofor. T.understand

 

the court thinks.that -- and I'm sure the government did

that, all right. He's going to .get a check and it's, going to

 

Go to him, and maybe he paid his attorney hourly so his

 

attorney, doesn't have to worry about that, but, I mean, those

 

are the facts of litigation. The court well knows that.

 

THE COURT? ALY right. ‘Phere are too many

 

variables without. sufficient facts before the court.

I've obviously stated I do not believe

 

Mr. Jaramillo, should be receiving any cash payments.as. a

 

result of that litigation:

 

Tim -géing to have to order a further heating on:

 

this where I can get ahold of the attorney fees isstie and

make a-rculing on the attorney fees issue.

 

I do note, sir, that you did your job and obtained
a recovery, ana those are all issues we're going to have toa
determine at a future hearing.

Is 10 appropriate at this time to set a time for
that hearing with briefings and such?

MR. SAGEL: I'm okay with that. I just don't know

i£ Your Honor would -- the gentleman that I've been dealing

 

 

 

PACER TRANSCRIPT
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with is, I believe, Dave Lawrence, who was one of the
attorneys representing ~~

THE COURT: Did he write the letter? There was a
latter of support.

MR. SAGEL: = don't think he'd be writing a letter
in support of Mr. Jaramillo.

THE COURT: All right.

MR. BARUCH: No. He's a private counsel who was
hired by the County of Orange.

MR. SAGEL: Exactly. He was -- he --

THE COURT: Let me ask you this, Mr. Sagel.

if I set a hearing date, would you take the
responsibility of notifving the parties that there will be a
hearing, including Mr. Baruch?

MR. BARUCH: Yeah, Joel Baruch.

 

PhD tae the -~ you know, Tint a member of the

 

court. I'm an officer of the court so df you.want to ask

 

me. =—

THE COURT: All right. Between, the two of you T_

 

want you to. give notice of this.

 

And we'll set a date on what date, Ms. Bredahl?
THE CLERK: How long will we need?

THE COURT: A month.

THE CLERK: I mean for the hearing.

THE COURT: A month.

 

 

 

PACER TRANSCRIPT
CASEY LOPLI Ae USO BEEF TBO 9G BARBI? BSGe PAPE R440

 

THE CLERK: The time estimate of the hearing is a
month?

MR. SAGEL: The actual hearing,

MR. BARUCH: May I suggest something, Your Honor,
if T may?

THE COURT: Yes.

MR. BARUCH: The motion. for attorneys! fees. is not

 

set to be heard before Judgé Ranks until October 23rd. I

 

don't know if that figures into: your calculations as to what

 

you may want: to do.

 

THE COURT: All right.

MR. BARUCH: And he has not signed the judgment

 

yet, although threatening to do.80 every day.

 

THE COURT: Mr. Sagel.

MR. SAGEL: T don't really want to make this
public, but I won't -~ as I think Your Honor knows I won't be
in this country for the month of October; so really -- I
don't really care when it's set, but if briefing is done, I'd
ask it to either be before October or after October.

THE COURT: Ali right. The sentence obviously is
going to have a period of custody.

Is there any objection to proceeding ahead with the
custody with this matter of restitution to be heard at a
hearing set in November?

MR. BARUCH: You're asking me, Your Honor, or --

 

 

 

PACER TRANSCRIPT
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THE COURT: Well, I'm asking actually the probation
office, the defense counsel, and Mr. Sagel.

MR. SAGEL: That's fine with the government,
Your Honor.

THE COURT: All right. Hearing néthing further,-

 

we!re going to set a hearing for the determination of the

 

final amount of restitution; As I'we noted, the festitution

 

is.only going to be payable ator about the time it's paid,

And’ so let's set a hearing in November, mid November.

 

THE CLERK: November: 16th at. 2:00 ocny

HE COURT? ALI right. November 16th at 2:00 pins

 

wo-will-have a hearing on the amount of restitution,

 

All interésted: varties may File briefs by

 

November.-~~ Mr. Sagel, what-day?

 

MR. SAGEL: November ~- anytime November 1 or after
is fine with me.

THE.COURT; All briefs shall be “Filed and there

 

will’ just .be- one round 6f briefs with any supporting

 

documents one week before that hearing.

 

What date is that; Ms. Bredahl?

 

THE: CUERK:. November 9th.

 

THE COURT: All briefs will be filed by
November 9th.
MR, BARUCH: Would you like me to give notice to

Mr. Lawrence, Your Honor? I would be glad to.

 

PACER TRANSCRIPT

 
8:07-cr-Q0036-AG Document 50 Filed 11/1 o/9 9 Page 210f50 Page ID #:442
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THE COURT: All right. Give notice to
Mr, Lawrence. And you are now put on notice and the defense
counsel and the government are put on notice.

And to the extent we're talking about factual:

 

matters I would like evidentiary matters to be submitted like

 

the ---the fee.agreement. You know, I don't know what. your

 

words are. Tt. might. be how you worded it.

 

Recovered? Received? Paid by?

 

It-will be interesting. Welll see what the fee

 

agreement says, and I'i1 make an appropriate reling at that

 

 

cimey.

All right. Getting back to my statement of reasons
for the sentence, I've also considered community service. I
always like to consider community service. I think community

service is underutilized in our sentencing, but I've decided
custody i8 necessary in this case, particularly to promote
respect for the law, to provide deterrence, and to meet the
other 3553A factors.

Of course that does not mean that community service
would not be something I certainly would encourage
Mr. Jaramillo to do during the period of supervised release
or even while he is in prison.

I suspect actuaily through his church that
Mr. Jaramillo already is engaged in varicus forms of

community service.

 

 

 

PACER TRANSCRIPT
CS FSe EOP UOSE-AC Bucumont 40” “Fiad 10/162000 Page Teor 12

 

All right. Those are my 3553A factors. Now I'm
going to read the sentence itself.

After I read it I will ask if there are reasons
that need to be stated as to why this sentence, as I state
it, May not Lawfuliy be imposed.

I am going to use, as I always use, the probation
office letter as a basis, modified to reflect what I have
just held and found and ruled.

Having considered both the sentencing factors of 18
USC Section 3553A and the advisory guideline range of 27 to
33 months, based upon an offense level of 17 and a criminal
history category of two, the court is prepared to enter the
following sentence:

Tt. ?s ordered that the defendant shall: pay to the

 

United States a special. assessment: of $200, which is due

 

adimmediately.

It is ordered that. the defendant. shall. pay to the

 

United States a totel fine of $50,000 consisting of. the

 

#ollowing:

Count 1, a fine of $10,000.

 

Count 2, a fine of $40,600.

 

The totals. shall:bear interest as provided by law:.

 

A sum of $5,000 shallbe paid. immediately on the

 

Payment of that balance shail be due during --

 

 

 

PACER TRANSCRIPT
C25 3 fb PROBES APeMBR BPS HALO BB ABEG? LED, Peg Se

 

payment of the balance shall be due during the period of
imprisonment at the rate of not less than $25 per quarter and
pursuant to the Bureau of Prisons Inmate Financial
Responsibility Program.

Tf any amount of the fine remains unpaid after
release from custody, monthly installments of $500 shall be

made during the period of supervised release, with annual

bea

ump-sum payments of $15,000 due at the completion of the
first and second years of supervision until defendant
receives the civil settlement -- actually, the defendant will
not be receiving the civil settlement pursuant to what I have
previously stated here.

The monthly payments shall begin 30 days after the
commencement of supervision. The defendant shall comply with
General Order No. 01-05,

Under the Sentencing Reform Act of 1984 it is the

 

judgment of the court that the Defendant George H. Jaramillo

 

is. hereby. committed on Counts 1 and 2 of ‘the Information to

 

‘he custody of. the Bureauof Prisons for a term of 27 months.

 

vite term sonstne ot 2” monte on cook ot tampa,

 

and 2 of the Information tobe. served concurrently.

I will note that during almost ali of the
discussion here today the focus has been on Count 2.

OF course the defendant has also pled guilty to

Count 1.

 

 

 

PACER TRANSCRIPT
CASE RCL FOP ITO AO UG Rent dE? THR IE Bnet 63S. LAPS P6449

 

On the issue of restitution, Ihave previously

 

stated my views, but. the order of restitution will be that

 

the defendant not take anything by way.of cash payments from

 

 

the County. The exact parameters of how that restitutionary

 

order will implemented will be determined after the hearing,

 

which I expect to come after further rulings from the

 

Superior Court.

Now I believe I'm sequired to state the various

 

terms of the restitution, but I think I've stated them

 

sufficiently by stating that when the County is to make a

 

payment it.is not te be received, or if it's received it's to

 

be immediately returned.

 

Upon release from imprisonment the defendant shall
be placed on supervised release for a term of three years.
This term consists of one year on Count 1 and three years on
Count 2 of the Information, all such terms to run
concurrently under the following terms and conditions:

The defendant shall comply with the rules —-

One, the defendant shall comply with the rules and
regulations of the US Probation Office and General Order 318.
Two, the defendant shall cooperate in the

celiection of a DNA sample from the defendant.

Three, during the period of community supervision
the defendant shall pay the special assessment and fine in

accordance with this judgment's orders pertaining

 

 

 

PACER TRANSCRIPT
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fo such payment.

Four, the defendant shall apoly monies in excess of
$500 received from income tax refunds to the outstanding
court-ordered financial obligation.

In addition, the defendant shall apply all monies
received from Lottery winnings, inheritance, civil judgments,
and any unexpected financial gains to the outstanding
court-ordered financial obligation.

And, five, the defendant shall truthfully and
timely file and pay taxes owed for the years of conviction,
as well as subsequent years for which he owes back taxes, and
shall truthfully and timely file and pay taxes during the
period of community supervision.

Purther, the defendant shall show proof to the
probation officer of compliance with this order.

Ali right. Other than the reasons already argued,
does either counsel know of any reason why the sentence as I
have stated it may not be imposed as stated?

MR. SAGEL: No, Your Honor.

MR. ROMNEY: Did the court make a determination yet
as far as credit or confinement -- home confinement?

THE COURT: ‘Yés. I've made'a determination that

there will not be credit-and there will not. be home

 

confinement

MR. ROMNEY: Wo further objection.

 

 

 

PACER TRANSCRIPT
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THE COURT: All right. The probation office, any
comments?

Sorry to put you on the spot.

THE PROBATION OFFICER: Dees the court wish to
waive the mandatery drug testing condition?

THE COURT: Weil, it -- IT did not state it; right?

THE PROBATION OFFICER: Right.

THE COURT: All right. And the mandatory drug
testing condition is waived because the court determines that
the defendant poses a low -- a very low risk of future
substance abuse.

Anything further?

THE PROBATION OFFICER: (Shook head.)

THR COURT: All right. The sentence, as I have
stated it, will be the sentence imposed.

i find that the sentence is sufficient but not
greater than necessary to comply with the purvcoses set forth
in Section 2 of 3553A.

Now, Mr. Jaramillo, you have, think, remaining
rights to appeal under the plea agreement.

If you cannot pay the expenses of an appeal, you
may apply for leave to appeal without expense to you if you
meet the requirements for that.

Notice of the appeal must be filed with the court

within ten days from the entry of this judgment.

 

PACER TRANSCRIPT

 
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Do you understand your right to appeal?

THE DEFENDANT: Yes, sir.

THE COURT: All right. We now get to the issue of
the custody of the defendant at this point.

What is the government's position?

MR. SAGEL: For reasons stated at the beginning of
this hearing and not -- and for no other reasons other than
to benefit the Bureau of Prisons and to benefit the other
members of Mr. Jaramililo's family, I would ask that the
Gefendant have 45 days to self surrender to either the
designated facility or to the marshals department in this
pbuilding.

THE COURT: Mr. Romney.

MR. ROMNEY: Your Honor, we would respectfully
request that Mr. Jaramillo be allowed to surrender sometime
after the ist of January, if that's possible.

THE COURT: Reason?

MR. ROMNEY: So that he can get his affairs in
order for his family, for himself, for his son who is in
college, and basically make a determination as to what
they'll do with their home.

And I think that will take longer than 45 days.

THE COURT: Mr. Sagel, do you have any information
as to how long the Bureau of Prisons might need?

MR. SAGEL: I can tell you from the experience with

 

 

 

PACER TRANSCRIPT
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the previous defendant that I was told within about 15 days
ef which facility he was designated to; so although they
asked for a lengthier set of time last time, TIT had the answer
quite quickly; so I think they normally ask for at ieast

30 days.

THE COURT: I'm going to set the report date at
45 days.

Now, let me ask both parties, is it agreed that the
circumstances of the defendant's prior release and appearance
justifies continued release on the previous terms and
conditions?

Mr. Sagel?

MR. SAGEL: Yes. With the caveat that not on the
previous terms cf release because his previous terms of
release were under the supervision of the Federal Bureau of
Investigation and the Internal Revenue Service Criminal
Investigation Division. I'd ask that his terms of release be
the standard conditions of release supervised by either
pretrial services or the United States Probation Office.

CHE COURT: Ail right. That is definitely what the
court is contemplating.

Mr. Romney, is it agreed that the circumstances of
defendant's prior release and appearances justified continued
release on the terms as Mr. Sagel has just identified?

MR, ROMNEY: Yes, Your Honor.

 

 

 

PACER TRANSCRIPT
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Yes, Your Honor.

THE COURT: All right. Can the parties stipulate
that there is sufficient evidence from which the court would
find by clear and convincing evidence that the defendant is
not likely to flee or pose a danger to the safety of any
other person or the community?

Mr. Sagel?

MR. SAGHL: We would so stipulate, Your Honor.

THE COURT: Mr. Romney.

MR. ROMNEY: So stipulated.

THE COURT: Ali right. The court is going to make
that finding. I gave reasons at the beginning of this
hearing.

LT will repeat them -- I will confirm that I am
standing by those reasons.

I also believe on the issue of fleeing that the
pension payments are such that if the defendant were to Flee
the County would be relieved from those pension payments and
the defendant would likely not recover them.

Yes,

MR. SAGEL: i'm speaking out of -~ without doing
the research, I actually think Your Honor is wrong because I
think his wife is still entitled to those pension payments.

50 if that is the thought of -- I don't -- while 7

don't think this defendant is going to flee, I don't think it

 

 

 

PACER TRANSCRIPT
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would be a bad thing to say his release is based on a
justification, a signature bond of his pension,

THE COURT: On what?

MR. SAGEL: His justification -- his surety of
justification is his future payments of pension.

THE COURT: I think that would accomplish the
order -- the statement I just made and that would be my
order.

THE CLERK: Judge, that's not something that --

I have pretrial also here. Pretrial and probation.

MS. STORM: Your Honor, Karen Storm, pretrial
services.

IT have never seen that happen before. There's no
way that pretrial services could actuaily do that. It's
usually an individual or a corporation. We can't prove
that ~- you can't use the surety because you can't use that
he eventually will get that, essentially if his -- his
judgment is appealed or reversed.

MR. SAGEL: I ask that he sign a deed of trust,
then, to his house, if the reason is he needs time to stay
out is to settle his affairs, if he flees, then he won't have
the house to sell. He obviously would then be bound to not
flee because he's going to want to sell his house.

THE COURT: Mr. Romney.

MR, ROMNEY: I don’t think there's any chance

 

 

 

PACER TRANSCRIPT
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whatsoever that Mr. Jaramillo's going to flee, Your Honor.

He has a disabled mother that he's been caring for for

14 years, 15 years. He's not going to abandon her. He's gov
two elderly aunts that he has been caring for for over

14 years. He's not going to abandon them. He has a home
here. He has a son that's in college. He has a daughter
that's just starting middie school. He's married -- fi con't
believe he's going anywhere. I'd be shocked if that even
entered into his mind, and I'd ask the court to simoly allow
him to surrender on that date without any further order.

THE COURT: All right. Mr. Jaramillo, you
understand that if you didn't surrender on that date the
consequences could be very serious?

THE DEFENDANT: Your Honor, you have my word T will
be wherever this court tells me to be at the date that you
tell me to be there.

THE COURT: All right. I previously stated and the
parties seem to agree that there is not a chance of fleeing,
and IT don't think the -- there is safety to the community
concerns in this case. And the parties have agreed on that.

So the defendant may continue on his release
status, except that he will now report to who, Mr. Sagel?

MR. SAGEL: Ms. Storm can correct me, but I believe
it's still pretrial services until he -- I believe it's

pretrial services.

 

 

 

PACER TRANSCRIPT
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MS. STORM: Okay.

THE COURT: All right. Except for the adjustment
that the reporting wili be to pretrial services.

If the government wishes te make any motions to
alter the bond requirements or such, you may do so. You're
not required to do so. But since there was questions made
about the legal issues concerning various alternatives, if
you wish to follow up on that you may bring a motion and
we'll look at it.

But for now we'll continue on the existing
arrangements.

MR, SAGEL: Thank you, Your Honor.

With one contingency of -- I don't mind him having
forthwith release, but for him to have a date certain to
report to pretrial services, which I don't believe he's ever
done.

THE COURT: Where may he report to pretrial
services?

MR. SAGEL: I'm being told tomorrow by people in
the corner.

THE COURT: Tomorrow?

MS, STORM: Yes, Your Honor. Tomorrow.

THE COURT: And where may he report to you?

MS. STORM: In this building on the fourth floor,

THE COURT: Can you do that tomorrow,

 

 

 

PACER TRANSCRIPT
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Mr. Jaramillo?

THE DEPENDANT: Yes, sir, I'il be there.

Any particular time?

MS. STORM: 10:00 a.m., Your Honor.

THE COURT: All right. The reporting be will be at
19:00 a.m. tomorrow.

THE CLERK: The oniy conditions previously imposed
were defendant shall submit to supervision. Travel is
restricted to the -- to California or other places with
permission of the court. Those were the only two conditions
that we previously imposed.

The regular conditions would be do not enter
premises of any airport, reside as approved, maintain or seek
employment. There's certain conditions that normally would
be ~~

THE COURT: All right. I'm going to leave the
conditions as stated. That is my ruling. If the government
wishes to alter those conditions, they may present that to
me.

MR. SAGEL: The only alteration that I believe
ig his travel should be limited to the Central District of
California. No other locations other than the Central
District.

THE COURT: All right. That will be the ruling

subject to you filing something with me, Mr. Jaramillo, if

 

 

 

PACER TRANSCRIPT
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good cause can be shown,

All right, We've set the conditions.

Anything further before we are in recess?

THE CLERK: Is the surrender date October 30th at
12:00 noon?

THE COURT: What day is that?

THE CLERK: October 30 is a Friday.

THE COURT: Okay. October 30 at 12:90 noon.

THE CLERK: Or to the designated -- either to
this ~~ the marshals office in this building or to the
designated facility.

THE COURT: Correct.

Anything further?

MR, ROMNEY: No, Your Honor.

Thank you.

MR. SAGEL: Nothing from the government.

Thank you, Your Honor.

THE COURT: Ail right. Let me just say,

Mr. Jaramillo, I've bean tough on you today. I think =f
needed to meet the requirements of 3553A, and IT believe the
sentence I have done meets that requirement.

I hope, while you're in custody, you'll listen.
You can -- you consider what you've done and how ycu can lead
your life better when you get out.

And IT wish you good luck in doing that.

 

 

 

PACER TRANSCRIPT
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We are in recess.

(End of proceedings.)

 

 

 

PACER TRANSCRIPT
Case 8:07-cr-00036-AG Document 50 Filed 11/10/09 Page 36 0f50 Page ID #:457

EXHIBIT 2
Case 8:07-cr-00036-AG ‘Bocument 50 Filed 11/10/09 Page 3/ of 50 Page ID #:458

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November 2, 2009
Via Facsimile and U.S. Mail
Joel W. Baruch, Esq.
LAW OFFICES OF JOEL W. BARUCH
2020 Main Street, Suite 900
Irvine, California 92614

Re: George Jaramillo v. County of Grange, et al.
Case No.: 05CC04220

Dear Mr. Baruch:

I have read the transcript of the september 14, 2009 sentencing hearing in the matter of
United States of America v. George Jaramillo, Case No. CR-00036-AG-1,

As you know, we are to submit briefs to the Court by November 9, 2009. A primary issue
concerns attorneys’ fees. At Page 115, Judge Guilford states:

“And to the extent we’re talking about factual matters, I would like evidentiary
matters to be submitted like the -- the fee agreement.”

Consequently, would you please, at your earliest convenience, provide me with complete
signed copies of all fee agreements between Mr. Jaramillo and his counsel during the pendency of
Mr. Jararnillo’s suit against the County.

Thank you for your anticipated cooperation.

Very truly yours,

  

WRENCE BEACH ALLEN & CHOI, PC.

DDL:blm
Case 8:07-cr-00036-AG Document 50 Filed 11/10/09 Page 38 of 50 Page ID #:459

EXHIBIT 3
Case 8:07-cr-00036-AG Document 50

 

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ALAN CARLSON, Clerk Of the
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SUPERIOR COURT OF THE STATE OF CALITORNIA

16 COUNTY OF GRANGE, CENTRAL JUSTICE CENTER

17 || GEORGE JARAMILLO,
3 Plaintigt,

COUNTY OF ORANGE;

ne
tae

16 20, inclusive

VW Detendants.

MICHAEL CARONA and DOES 1.

CASE NO, O30C0622¢
Honorable Andrew P. Banks
Department C11

Complaint Filed: March 17, 2005
Trial Date: Completed

AMENDED (22

 

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AMENDED (PROPOSED) WDO MENT

 

 
Case 8:07-cr-00036-AG Document 50 Filed 11/10/09 Page 40 0f50 Page ID #:461

   

1} his matter came for a trial before the Honorable Andrew Banks on April 6, 2009
2+ through May 13, 2009. The parties waived their rights to a jury trial and requested that the Court

decide fhe matter, The Court, having received testimony and exhibits, and having heard

kad

4} argument by counsel, now finds on the issues raised and presented as follows

Government Code (hereinafter G.C.) Sections 3300 - 3311 set forth the Public Safety

&

7

8 | Officers Procedural Bill of Rights (hereinafter the Bill of Rights Act or the Act}, The Act makes
?) i unlawful (the Legislature's term) for any public safety department to deny or refuse to any
G

pubhe safety officer the rights and protections guaranteed them by the Act (G.C. section 3309.3),

 

il The evidence established that the plaintiff George Iaramillo was at all times relevant

12] herein a public safety officer and that the Orange County Sheriffs Department was a public

13 | safety department gubiect to the Act,
4 The evidence further established that the Defendant (Defendant is Hable as aresult ofthe |

15 | actions of former Sherif Michael Corona) denied and/or refused the Plaintiff the following
6] gehts and/or protections under the Act: refusing to provide Plaintiff with an opportunity for
administrative appeal when punitive action is undertaken (G.C, section 3304 (b)); failing to give |

7
ig | notice to plaintiff of Defendant's decision to impose discipline (Le. termination) on Plaintift
9

 

197] (GLC, section 3304 (8).

2 The Defendant's position was that Plaintiff had waived his rights under the Act to notice
21] and appeal, It relies on Exhibits | and 2. However, that reliance is misplaced.

22 The Califomia Supreme Court in County of Riverside v Superior Court, (2002) 27 Cal
23) 4th 793 clearly stated that the Act is not subject to blanket waiver (id. at 804), The waiver
24 involved here is a blanket or general waiver [of both notice and a right to appeal the "punitive
25 : action” (G.C, Section 3304(a\) and is far beyond the very narrow and extremely limited waiver

26 | upheld by a bare majority of the Court in County of Riverside. The Supreme Court's language
ig particularly instructive:

".. [flaw enforcement agencies could routinely require applicants to

AMENDED PROPOSED) JUDGMENT

 

 

 
Case 8:07-cr-00036-AG Document 50 Filed 11/10/09 Page 41 0f50 Page ID #:462

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ct

 

 

   

waive thetr prospective rights under the Bill of Rights Act as a condition

of mmploymnent these v employes © could render the BI of ens Act

arose in "the unusual factual context of a transition from city to County law enforcement in the
City of Perris" (fd at 807). The Supreme Court held; "Where the employee's waiver is limited
io an urvestigation of matters that arose prior to employment, and where the waiver expires after
one Year, so the employee is not subject to conmthnuing investigation long afler being hired,

enforcement of the waiver would not particularly undermine the public purpose of the Act, .."

 

More recently the Court of Appeal had occasion to address the Act and its protections,
In the case of Riverside Sherifl's Association vs County of Riverside, (2009)173 Cal, App. 4th
1410, 1425, 93 Cal. Rptr. 3d 832, that Court stated as follows:
"POBRA provides "a number of basic rights and protections which
must be accorded individual public safety officers by the public
agencies which employ them, [Fn. Omitted.] One of the basic
protections is the right to an administrative a of punitive actions.”

(White v County of Sacramento, (1982) 31 Cal 34 676.679).

“Section 3304, subdivision (b) orovides: "No punitive action... shall
be undertaken by any public agency against any public safety
officer. . without providing the public safety officer with an

opportunity tor administrative appeal"... (id at 709)”.

AMENDED (PROPOSED) FUDPGMENT
3

 
Case 8:07-cr-00036-AG Document 50 Filed 11/10/09 Page 42 of 50 Page ID #:463

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The Defendant County of Orange continually took the position that PlaintiffJaramillo had
waived his rights under the Act to notice and administrative appeal ard that they had no |
obligation to provide him such. They are wrong on both counts.

While there was contlicting testimony on whether Plaintiff asked for an appeal hearing
on the day he was terminated (which he was not required to do} this Court finds that the issue
of his administrative appeal rights was raised long before this lawsuit wae filed.

For example, Exhibit 47 is the settlernent agreement dated 6 months after Plaintiffs
termination (received for limited purposes and not to show Hability on Defendant's part}, siened

by Plaintiff himself, his attorney and the Defendant's attorney. It includes a Provision whereby

| Plaintiff waives any claims he has against Defendant arising out of Defendant's alleged violation |

ofthe Act (Exh, 47, Section Bl - at pages | and 2 of the Apreement). Even after the “settlement”
was not approved by the Board of Supervisors and through the filing of this lawsuit the evidence
is that the Defendant failed to provide Plaintiff his right to an administrative appeal claiming
Plaintiff waived such right. The evidence also esiablished that afler Plaintiffs termination the
County's Hurnan Relations Director, Jan Walden, discussed the rights protected under the Act |
with former Sherilf Corona and still ne appeal hearing occurred. The Defendant is liable for this |
vielation of the Act.
An additional and separate violation of the Act is found in the fellure of Defendant to

“notify the aiety officer in writing of its decision to impose discipline, including the date
that the siciline will be imposed, within 30 days of its decision..." (Cc. section 3304 (1). No
such notice was given Plaintiff,

t

There was discussion about whether “termination of employment” is "discipline” as the

latter term is used in the Act. The Court has found no case directly on point, However, according
io Cvww.webster-orlinedictionary ore/definvion/discinline}, the term 1 fscipline” is defined" is

 

defined ag “the act of punishing”. Utlizing that definition results in finding Defendant also
viclated this section of the Act.
This case was tried as te several other clarmed viclations of the Act. This Court finds that

Plaintiff did not meet his burden of proof as to those other claimed viclations.

AMENDED (PROPGSED) JUDGMENT
4

 
Case 8:07-cr-00036-AG Document 50 Filed 11/10/09 Page 43 0f 50 Page ID #:464

   

Le This Court further finds that with respect to the established violations of the Act, former

2) Sheri? Michael Corona was acting within the scope of his employment and he maliciously

 

3 | violated provisions of the Act with the intent to injure Plaintiff.

4

5 De 6th Cause of Action for Violation of 42 USC & 1082 . Fourteenth Amendment:
6 ‘The evidence established that before Plaintiff became an Assistant Sheriff of f Orange

7 | County he was a “for cause" employee of the County of Orange working in the Marshal's
$| Department. When he became an Assistant Sheriff he signed Exhibit I and thereafter while
Gi Assistant Sheriff signed Exhibit 2. Exhibits | and 2 included a provision that the signer would

10 — be an at-will employee of the Defendant. In sienine Exhibit 1 Plaintiff eave up his "for cause”
- & .

 

1] | status obtained from his position in the Marshal's Office but not his rights and protections under
12} the Act,
13 Thus, at the time of his termination he had signed Exhibits 1 and 2 (Exh. 2 arguably

superseded Exh. 1). He was a public safety officer who, although he could be fired for “a good

uw sy

reason, a bad reason or no reason” {a typical definition of an at-will emplovee), he could not be
164 Gred for 4 reason that violated the law (e.g. in violation of his rights and protections under the
17 | Act, or un violation of certain Labor Code provisions or in violation of anti-discrimination laws
18) such as FER A).

19 Plaintiif Jaramillo had a property interest in his position, As stated by the Courtof Appeal

20 || in Brown v City of Los Angeles (2002) 102 Cal App 4th 135, 169:

1 “ihe Fourteenth Amendment io the United States Constitution ‘places
22 procedural constraints on the actions of government Inet work @
23 deprivation of interests enjoying the stature of ‘property’ within the
24 meaning of the Due Process Clause.” [Citation] Property interests that are
25 subject t0 due process protections are not created by the federal
26 Constitution, Rather, they are created, and their dimensions are defined

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by existing rules or understandings that stem from an independent source

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such as state law’. “(Citation omitted)

 

AMENDED (PROPOSED) TUDGMENT

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"As the United States Supreme Court put it, ‘property

ittterests subiect to procedural due process protection are not limited by a
few rigid, technical forms. Rather, property denotes a broad range of
inferesis that are secured by existing rules or understandings,

(Cifations.] A person's interest in a benefit is a preperty interest for

due process purpases if there are such rules or mutually explicit

understandings that support his claim oF entitlement to the benefit.’

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(Perry v Si an aC 19 723] 708 U.S. [893] 601"
As the Brown Court noted, 4, citing the United States Supreme Court in Gilbert v Hamar (1997)

 

320 US 924, 932." an emolovee has a significant private interest in the uninterrupted receipt

of his paycheck. ..". Brown, supra, 102 Cal App 4th at 175.

This Court finds that the benefits, protections and rights contamed m the Act support
Plaintilfs claim of a property interest in his job as Assistant Sheriff, The Defendant's failure to

grovide him the required notice and administrative appeal viclated Plaintiff's Fourteenth

Amendment tights and Defendant is Hable to Plaintiff for this violation.

Lhe 7th Casse of Action for Viglation of Labor Cade Section 1102.5

‘This Court finds that Plaintiff has met his burden to establish by a preponderance of the
evidence that an activity proscribed by Labor Code section 1102.5 was a contributing factor in
ihe termination of Plaintiff, Once Plaintiff met this initial burden the Defendant had the burden
of proof to establish by clear and convincing evidence that the termination would have ocowrred
ior legitimate, independent reasons even if Plaintiff had not engaged in activities protected by
Labor Code section 11 02,5. (Labor Code section 1103), Defendants failed to carry their burden.

‘The Court finds credible ihe claim thal Plaintiff notified former Sheriff Corona that
Corona’s use of County property, including automobiles and helicopters, for sexual liaisons was
improper, This was a contributing factor in Plaintifi’s termination.

As aresult of this determination the Gefendant is also liable for violation of Labor Code

section 1102. 4,

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| Sections 3300-3311).

 

 

   

Defendant's Affirmative Defenses:
The Defendant asserted two affirmative defenses to Plaintiffs claims. The affirmative

defenses were: (1) unclean hands, and (2) after acawired evidence.

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These defenses are unavailing to the Defendant for the reasons set forth in Murilis v

 

 

Stuff Foods, Inc. (1998) 65 Cal App 4th 833 and which were discussed at length on the record mn
in this matter. Said discussions and decisions of the Court are incorporated herein and are rel

upon by the Court in reaching fis decision. Quite simply, this Court finds that the protections and
nights afforded io public safety officers under the Act are entitled to the same level of
consideration and protection given all persons under California's Labor laws and !
anlidiscrimination statues such as FEHA (see e.g, Government Code § 12920 et seq.). The
affirmative defenses should not bar Plaintiffs claims herein for the same reasons they do not bar

clauins under the aforementioned laws.

 

THEREFORE, ITIS NOW ORDERED, ADIUDGED AND DECREED AS FOLLOWS

 

1} Plaintiff will be awarded injunctive relief, extraordinary relief, monetary damages, |
chil penalties, and reasonable attorney's fees and costs, as provided below.

2) Plaintiff is entitled to, and will receive, injunctive relief under the Public
Safety Officers Procedural Bill of Rights Act, as set forth in Government Code Sections
3300-3331. Plaintiff's counsel is directed to prepare an Injunction directed to the C of
Grarige as follows:

A) Defendant County cf Orange is hereby prohibiied from using language in
any personne! document or “at will’ walver, which purport to obtain from Executive
Management Personnel in the Orange County Sheriffs Department who are public safety |
officers, any waiver ofrights that would include 4 waiver of rights, privileges and/or protections

wider the Public Safety Officers Procedur ‘al Bill of Rights Act (as codified at Government Code

B) ‘To the extent any such documents/waivers exist with respect to any current

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Assistant Sheriffs, Undersheriffs or other Executive Management employees of the Orange

AMENDED (PROPOSEE JUDGMENT

 
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County Sheriffs Departrnent, who are public safety officers under the Public Safety Officers
Precedural Bill of Rights Act (as codified at Government Code Sections 3300-3311}, those
waivers are declared unlawful and void ag to any waiver of rights, privileges or protections
contained in the Act,
©) The Defendant is further prohibited from tendering io any public safety

officer, including but not limited to, Assistant Sheriffs and Undersheriffs any waiver of rights
or proposed at will agreements that do not include the following language:

“This document does not constitute nor shall it be considered
a waiver of any of the rights protections and/or privileges of
Government Code sections 3300 et sea. commonly known
as the Public Safety Officers Procedural Bill of Rights Act.”

3} This Court further orders that Plaintiff recover back pay, and to the extent

necessary to effectuate this award, Defendant County of Orange reinstate Plaintiff (for salary
and benefits purposes only) for the period from the date of his termination, which is March 17,

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; 2004, through and including January 28, 2007, and that he be and is awarded back pay and

benefits for that period and that he receive all benefits and ermployer contributions to health

i pension and any other plans which contributions were being made by the Defendant as of the

| date of Plaintiff s termination. The back pay amount to be utilized for computation purposes is

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us salary as of the date of termination. That salary ammount shall remain constant and fixed

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the entire period desoribed above. The Court finds Plaintiff did not meet his burden of proof that
he more likely than not would have received pay increases from former Sheriff Corona.

4) Adter computing the amount of back pay due Plaintiff and before payment of any
net arnounts due him the Defendant is entitled to deduct from net back pay the sum of

$234,294.06 which is the amount the Court finds that Plaintiff earned between his termination

: and January 28, 2007.
| 3} Government Code section 3309.5 (e) makes Defendant lable for a civil penalty
| not to exceed $25,000.00 fer each viclat ithe Act where the Court finds a malicious

viclation with intent to injure-a public safety officer, The Court has made thig finding with

AMENDED (PROPOSED) JUDGMENT

 

 

 

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| | respect to former Sheriff Corona thus exposing Defendant to this additional penalty up to a

maxunum of $50,006.00 for the two Act violations found to exist. The Court has discretion in

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3 | this area and chooses to award Plaintiff the sum of $40 for each violation for a total of $100.00,
4) Lhe basis for this decision inelides the following: former Sheriff Corona is gone - driven from

g || office, Defendant County of Orange has indicated its willingness to change its waiver forms and
4 || #8 counse! has advised this Court that he has recommended discontinuance of the use of the
7 | offending language in the waiver. In light of these facts this Court sees no reason to impose other |
g | than a de minimus penalty.

9 6) Section 3309.5 (¢) also allows for the recovery of actual damages suffered. The
19, Court has ordered salary and benefit reinstatement for plaintiff and awarded reasonable
11 |, attorney's fees to be determined by motion later and therefore the only remaining actual damage
12 | claims for claimed non-economic damages, e.g, anxiety, emotional distress etc, The Court Snds

that the evidence does not support an award for non-economic damages.

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1s BASED ON THE ABOVE ORDERS, FINDINGS, AND DIRECTIONS, IT Is
ig | FURTHER ORDERED, ADJUDGED, AND DECREED AS FOLLOWS:

7 1} Plainwifis entitled to Iudgment for, as against Defendant County of Orange in the

pg | Sum of 3362.707 50. Of this amount, Plaintiff is entitled to judgment for, and Defendant County

, jo | OF Orange must pay to Plaimiff, the sum of $123,688.66, which represents back pay and benefits,

 

sq | ater deduction of offsets, pursuant to the terms of the Iudgment, Further, of this arnount,
21 | PlainGltis entitled to Judgment for, and Defendant County of Orange must pay into the Orange
25 | County Employee Retirement Systern (OCERS) in the name of George Jaramillo the sum of

2179.018.84 which represents the amount of retirement benefits which would have accrued in

a4 | Plaintiff's favor for the applicable time neriod.

35 2) Plaintiff is entitled to dudgment for, and Defendant County of Orange must pay
26 || ie Plaintitt, the sum cf 3100.00, which amount represents the Court's award of penalties for two
77 |) Violations ofthe Public Safety Officers Procedural Bill of Rights Act (as codified at Government
39 : Code Sections 3300-3319).

AMENDED (PROPOSED FUDGMENT

 

 

 

 
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3} Plaintiffis entitled to Judgment for, and Defendant County of Orange must pay
to Plaintiff, settled casts of the action in the sum of

4y Plaintiff is entitled to Judgment for, and Defendant County of Orange wnist pay

 

3) Plaintiff is entitled te Judgment for, and Defendant County of Orange must pay
to Plaintiff's counsel, Miche! Mills, reasonable attorney’s fees inthe sumof
6}  Plaintiffis not entitled to receive any monetary award for non-economic damages,
7) Plaintiff is entitled to, and will receive, the injunctive relief provided for by the

Court in this Judgment,
TPIS SO ORDERED.

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Dated: YY itinler e _, 2009 i a 7 I om

re +, Pon
The Honorable Andrew Banks, Iudge of the

Orazige County Superior Court

APPROVED AS TO FORM & CONTENT GNLY

 

David Lawrence, Attomiey for Defendant County of Orange

AMENDED (PROPOSED) JUDGMENT
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I PROOF OF SERVICE

2) STATE OF CALIFORNIA )

3 | COUNTY OF ORANGE 5

4 lam employed in the County of Orange, State of California, at the lew firm of

LAW GFFECES OF JOEL W. BARUCH, P.C. (2020 Main Street, Suite 960, Irvine,

5} Califomia 926143, [am over the age of 18 and not a party to the within action.
& On August 20, 2009, I served AMENDED (PROPOSED) JUDGMENT in the
manner indicaied below, the foregoing document on the interested parties to this action as
71 follows:
& | David D. Lawrence, Esq,
Christina M, Sprenger, Esq. _ .
9) LAWRENCE BEACH ALLEN & CHOT, PC

1608 North Broadway, Suite 1010

161 Santa Ana, California 92706

Phone:(714) 479-01 86

LE Fax: (714)479-0181 Attorneys for COUNTY OF ORANGE

12 |) Michel Mills

fo RRYSTAL

134 270) East imperial Highway

Brea, California 92821 Co-counsel for Plaintiff JARAMILLO
id? Phone: (49) 310-4604

Fax: (714) 986-1258

 

iS
424% (BY REGULAR MAIL) I caused such envelope(s) to be deposited in the United

16 states mail at Irvine, California, with postage thereon fully prepaid. ] am readily
familiar wilh the firm's practice of collection and processing correspondence for

17 maibng. It is deposited with the United States Postal Service each day, and that
practice was Iollowed in the ordinary course of business for the service hereia

ig attested to. [C.C.P. Section 101 3(a¥3)]

i% (BY OVERNIGHT EXPRESS | caused such envelope(s) to be delivered by hand to
the offices of the parties listed in the Service List.

20

(VIA FACSIMILE SERVICE) [ caused the above document to be served via
24 facsimile transmission by serving the parties listed in the Service List at the
facsimile numbers listed with their names.

ze |

|| i declare under penalty of perjury under the laws of the State of California that all
23 the foregoing is true and correct.

24 Executed on August 20, 2009, at Irvine, Califormua,

25

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26 : VEY Aly TUL

NICHOL FITZPATRICK

27 Declarant

 

 

 
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PROOF OF SERVICE

STATE OF CALIFORNIA; COUNTY OF ORANGE
{, Donna Adams, am employed in the aforesaid County, State of California; I

am _over the age of 18 years and not a pa y io the within action; my business
address is 1600 North Broadway, Ste. 1010, Santa Ana, CA 90706.

On November 10, 2009, I served the foregoing COUNTY OF ORANGE’S
AMICUS BRIEF IN RE COURT’S RESTITUTION ORDER AND FEES
REOUESTED BY HIS COUNSEL; MEMOREANDUM OF POINTS AND
AUTHORITIES; DECLARATION OF DAVID D. LAWRENCE AND
EXHIBITS on the interested parties in this action by placing a true copy thereof,
enclosed in a sealed envelope, addressed as follows:

Joel W, Baruch Michael Mills

LAW OFFICES OF JOEL W. cio KRYSTAL

BARUCH 2701 Hast Imperial Highway
2020 Main Street, Suite 900 Brea, California 92821
Irvine, CA 92614 Telephone: (949) 310-4694
Telephone: (949) 864-9662 Facsimile: (714) 986-1258

Facsimile: (949) 662-8985

X BY MAIL: [am "readily familiar" with the firm's practice of collection and
processing correspondence for mailing. Under that practice, it would be
deposited with the U.S. Postal Service on that same day with postage thereon
fully prepaid at Santa Ana, California, in the ordinary course of business.

BY FEDERAL EXPRESS
I caused such envelope to be delivered via Federal Express to the offices of the
address(es) listed above.

BY PERSONAL SERVICE

T hand delivered such envelope by hand to the
addressee(s) listed above.

X_ (Federal) I declare under penalty of perjury under the laws of the United
States of America that the foregoing is true and correct.

Executed on November fy at Santa Ana, California

Siac Marie

LA Declarant

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